Case 1:23-cv-00108-LMB-JFA Document 708-4 Filed 05/31/24 Page 1 of 11 PageID# 17957




         EXHIBIT 130
Case 1:23-cv-00108-LMB-JFA Document 708-4 Filed 05/31/24 Page 2 of 11 PageID# 17958
Case 1:23-cv-00108-LMB-JFA Document 708-4 Filed 05/31/24 Page 3 of 11 PageID# 17959
Case 1:23-cv-00108-LMB-JFA Document 708-4 Filed 05/31/24 Page 4 of 11 PageID# 17960
Case 1:23-cv-00108-LMB-JFA Document 708-4 Filed 05/31/24 Page 5 of 11 PageID# 17961
Case 1:23-cv-00108-LMB-JFA Document 708-4 Filed 05/31/24 Page 6 of 11 PageID# 17962
Case 1:23-cv-00108-LMB-JFA Document 708-4 Filed 05/31/24 Page 7 of 11 PageID# 17963
Case 1:23-cv-00108-LMB-JFA Document 708-4 Filed 05/31/24 Page 8 of 11 PageID# 17964
Case 1:23-cv-00108-LMB-JFA Document 708-4 Filed 05/31/24 Page 9 of 11 PageID# 17965
Case 1:23-cv-00108-LMB-JFA Document 708-4 Filed 05/31/24 Page 10 of 11 PageID# 17966
Case 1:23-cv-00108-LMB-JFA Document 708-4 Filed 05/31/24 Page 11 of 11 PageID# 17967
